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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,                   CIVIL ACTION NO.
                  Plaintiff,                 2:12-CV-01924-SM-DPC

                  V.                         JUDGE SUSIE MORGAN

    CITY OF NEW ORLEANS,                     MAG. DONNA PHILLIPS
                   Defendant.                CURRAULT



                         MONTHLY REPORT OF NOPD
                        ON THE REMEDIAL ACTION PLAN



      Now Into Court, comes Defendant, the City of New Orleans and its New

Orleans Police Department (“NOPD”), who, in compliance with the Court’s Order of

November 2, 2023 (R. Doc. 756), submit the report attached hereto as Exhibit 1, on

the NOPD’s progress on its Remedial Action Plan.

      Respectfully submitted, this 3rd day of September 2024.

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                             CERTIFICATE OF SERVICE

      I certify that I have served a copy of the above and foregoing pleading via

Notice of Electronic filing using this Court’s CM/ECF system to counsel of record

participating in the CM/ECF system on this 3rd day of September 2024.

                                             /s/ Collin J. Ligori
